            Case 1:13-cr-00328-LJO-BAM Document 44 Filed 01/29/15 Page 1 of 2

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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:13-CR-00328-LJO-SKO

12                                 Plaintiff,             FINAL ORDER OF FORFEITURE

13                           v.

14   VICTOR ROMERO TORRES,

15                                 Defendant.

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17          WHEREAS, on March 19, 2014, the Court entered a Preliminary Order of Forfeiture, pursuant to

18 the provisions of 21 U.S.C. § 853, based upon the plea agreement entered into between plaintiff and

19 defendant Victor Romero Torres, forfeiting to the United States the following property:

20                  a. Approximately $66,291.00 in U.S. Currency.

21          AND WHEREAS, beginning on March 22, 2014, for at least 30 consecutive days, the United

22 States published notice of the Court’s Order of Forfeiture on the official internet government forfeiture

23 site www.forfeiture.gov. Said published notice advised all third parties of their right to petition the

24 Court within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

25 validity of their alleged legal interest in the forfeited property;

26          AND WHEREAS, the United States sent direct notice to Luz Adriana Sanchez Gonzalez at her

27 last known address;

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       FINAL ORDER OF FORFEITURE                           1
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            Case 1:13-cr-00328-LJO-BAM Document 44 Filed 01/29/15 Page 2 of 2

 1          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

 2 property and the time for any person or entity to file a claim has expired;

 3          Accordingly, it is hereby ORDERED and ADJUDGED:

 4          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America

 5 all right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853, to be disposed of

 6 according to law, including all right, title, and interest of Victor Romero Torres and potential claimant

 7 Luz Adriana Sanchez Gonzalez.

 8          2.      All right, title, and interest in the above-listed property shall vest solely in the name of

 9 the United States of America.

10          3.      The United States Marshals Service shall maintain custody of and control over the

11 subject property until it is disposed of according to law.

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     IT IS SO ORDERED.
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14      Dated:     January 29, 2015                            /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
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      FINAL ORDER OF FORFEITURE                            2
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